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               r ,J!
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            _     ~~'
                     7~      ~~              ~J    r   ~1
       STATE OF COLORADO, ss:
             j ChYlStOphe7~ T. Rya~2              Cler1~ of the Supreme Courd of the Statc of
       Colorado, do hereby certify that
                           JOSEPH JACOB ZONIES
       has been duly licensed and admitfed to practice as an
                c.~ITTORNEY AND ~OUNSELOR AT ~AW
       within this State; and that his/her name a~j~ears upon the Roll of Attorneys
       and Counselors at La~v in my o~ice of date the                    j~h
       day of     MaY                          A. D 1998 _ Qnd that at the date hereof
       the said           JOSEPH JACOB ZONIES
       is in good sfandrn~ at this Bar.
                             IN WITNESS WHEREOF, I have hereunto tubrcrrbed my name and
                             affixed the Seal of said Supreme Court, at Denver, rn said State, thin
                                    26th                           March                         2012
                                                   da3' ~I-_ _            ________ _ __ A. D.
                                        -_Ch~istopheY T. Ryan                         __ _---
                                                                                                c~~k
                                                                                         Deputy Clerk
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